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                                          MINUTES



  CASE NUMBER:             CV10-00141LEK-KSC

  CASE NAME:               Jennifer Robinson, individually and as Next Friend of Jack D.
                           Robinson, et al. vs. United States of America

  ATTYS FOR PLA:           Collin Fritz

  ATTYS FOR DEFT:          Harry Yee

  INTERPRETER:



        JUDGE:      Kevin S. C. Chang             REPORTER:         FTR C5

        DATE:       10/14/2011                    TIME:             10:51-10:55am


 COURT ACTION: EP: Settlement on the Record. Mediator Charles Crumpton also
 present. Case settled. Terms stated.

 Based upon representations by counsel, the Court finds that the essential terms of a valid
 and binding settlement agreement have been stated. The deadline for filing of the
 Dismissal is 11/14/11. If the Dismissal is not filed by then, the Court will enter an Order
 of Dismissal retaining jurisdiction to enforce the terms of the settlement.

 Submitted by: Shari Afuso, Courtroom Manager
